     Case 1:24-cr-00126-DAD-BAM                      Document 58    Filed 02/14/25     Page 1 of 10



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5

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 7

 8                                IN THE UNITED STATES DISTRICT COURT

 9                                   EASTERN DISTRICT OF CALIFORNIA

l0
     LTNITED STATES OF AMERICA,                             CASE NO. I :24-CR-00126-NODJ-BAM
11
                                   Plaintiff,               PLEA AGREEMENT
t2
                                                            DATE:
13                                                          TIME:
     WENDELL MOTON,
t4
                                   Defendant.
l5
t6

t7                                              I.       INTRODUCTION

t8          A.      Scope of Agreement

t9          The Indictment in this case charges the defendant with a violation of 18 U.S.C. $ 933(aX3),

20   Conspiracy to Traffic in Firearms. This document contains the complete plea agreement between the

2t   United States Attorney's Office for the Eastern District of California (the "government") and the

22   defendant regarding this case. This plea agreement is limited to the United States Attorney's Office for

23   the Eastern District of California and cannot bind any other federal, state, or local prosecuting,

24   administrative, or regulatory authorities.

25          B.      Court Not a Partv
26          The Court is not a party to this plea agreement. Sentencing is a matter solely within the

27   discretion of the Court, and the Court may take into consideration any and all facts and circumstances

28   concerning the criminal activities of defendant, including activities that may not have been charged in


       Plrl AcneeugNr                                                      UNnrn Srerss v. WENDELL MOTON
     Case 1:24-cr-00126-DAD-BAM                 Document 58        Filed 02/14/25       Page 2 of 10



 I   the Indictment. The Court is under no obligation to accept any recommendations made by the

2    govemment, and the Court may in its discretion impose any sentence it deems appropriate up to and

3    including the statutory maximum stated in this plea agreement.

4           If the Court should impose any sentence up to the maximum established by the statute, the
 5   defendant cannot, for that reason alone, withdraw his guilty plea, and he will remain bound to fulfiIl all

 6   of the obligations under this plea agreement. The defendant understands that neither the prosecutor,

 7   defense counsel, nor the Court can make a binding prediction or promise regarding the sentence he will

 8   receive.

 9                                   II.      DEFENDAhIT'S OBLIGATIONS
10          A.         Guiltv Plea
ll          The defendant will plead guilty to Count One of the Indictment. The defendant agrees that he is

12   in fact guilty of these charges and that the facts set fofith in the Factual Basis For Plea attached hereto as

t3   Exhibit A are accurate.

t4              The defendant agrees that this plea agreement will be filed with the Court and become a part of

l5   the record of the case. The defendant understands and agrees that he will not be allowed to withdraw his

L6   plea should the Court not follow the government's sentencing recommendations.

t7              The defendant agrees that the statements made by him in signing this Agreement, including the

t8   factual admissions set forth in the factual basis, shall be admissible and useable against the defendant by

t9   the United States in any subsequent criminal or civil proceedings. The defendant waives any rights

20   under Rule I I (0 of the Federal Rules of Criminal Procedure and Rule 410 of the Federal Rules of

2t   Evidence, to the extent that these rules are inconsistent with this paragraph or with this Agreement

22   generally.

23              B.     Special Assessment
24              The defendant agrees to pay a special assessment of $100 at the time of sentencing by delivering

25   a check or money order payable to the United States District Court to the United States Probation Office

26   immediately before the sentencing hearing. The defendant understands that this plea agreement is

27   voidable at the option of the government if he fails to pay the assessment prior to that hearing. If the

28   defendant is unable to pay the special assessment at the time of sentencing, he agrees to earn the money


       Plea AcResupNr                                                      UNnso Srerss v. WENDELL MOTON
     Case 1:24-cr-00126-DAD-BAM               Document 58          Filed 02/14/25      Page 3 of 10



 I   to pay the assessment, if necessary by participating in the Inmate Financial Responsibility Program.

2           C.      Defendant's Violation of Plea Asreement or Withdrawal of Plea
3           If the defendant, violates this plea agreement in any way, withdraws his plea, or tries to withdraw
4    his plea, this plea agreement is voidable at the option of the government. The government will no longer

5    be bound by its representations to the defendant concerning the limits on criminal prosecution and

 6   sentencing as set forth herein. One way a defendant violates the plea agreement is to commit any crime

 7   or provide any statement or testimony which proves to be knowingly false, misleading, or materially

 8   incomplete. Any post-plea conduct by a defendant constituting obstruction ofjustice will also be a

 9   violation of the agreement. The determination whether the defendant has violated the plea agreement

10   shall be decided under a probable cause standard.

ll          If the defendant violates the plea agreement, withdraws his plea, or tries to withdraw his plea, the
12   govemment shall have the right: (1) to prosecute the defendant on any of the counts to which he pleaded

r3   guilty; (2) to reinstate any counts that may be dismissed pursuant to this plea agreement; and (3) to file

14   any new charges that would otherwise be barred by this plea agreement. The defendant shall thereafter

15   be subject to prosecution for any federal criminal violation of which the government has knowledge,

t6   including perjury, false statements, and obstruction ofjustice. The decision to pursue any or all of these

t7   options is solely in the discretion of the United States Attorney's Office.

18          By signing this plea agreement, the defendant agrees to waive any objections, motions, and

19   defenses that the defendant might have to the government's decision to exercise the options stated in the

20   previous paragraph. Any prosecutions that are not time-barred by the applicable statute of limitations as

2l   of the date of this plea agreement may be commenced in accordance with this paragraph,

22   notwithstanding the expiration of the statute of limitations between the signing of this plea agreement

23   and the commencement of any such prosecutions. The defendant agrees not to raise any objections

24   based on the passage of time with respect to such counts including, but not limited to, any statutes of

25   limitation or any objections based on the Speedy Trial Act or the Speedy Trial Clause of the Sixth

26   Amendment to any counts that were not time-barred as of the date of this plea agreement.

27           In addition: (1) all statements made by the defendant to the govemment or other designated law
28   enforcement agents, or any testimony given by the defendant before a grand jury or other tribunal,


       Plpa AcRegueNr                                                      Uuneo Sre.res v. WENDELL MOTON
      Case 1:24-cr-00126-DAD-BAM               Document 58         Filed 02/14/25      Page 4 of 10



 1   whether before or after this plea agreement, shall be admissible in evidence in any criminal, civil, or

2    administrative proceedings hereafter brought against the defendant; and (2) the defendant shall assert no

3    claim under the United States Constitution, any statute, Rule I I (f) of the Federal Rules of Criminal

4    Procedure, Rule 410 of the Federal Rules of Evidence, or any other federal rule, that statements made by

 5   the defendant before or after this plea agreement, or any leads derived therefrom, should be suppressed.

 6   By signing this plea agreement, the defendant waives any and all rights in the foregoing respects.

 7

 8                            III.      THE GOVERNMENT'S OBLIGATIONS
 9          A.      Recommendations
l0                  l.      Incarceration Range

ll          The government will recommend that the defendant be sentenced to no more than the midpoint

t2   of the applicable guideline range for his offense, as determined by the Court.

13                  2.      Supervised Release

t4           The government will recommend that the defendant be sentenced to a term of supervised release

15   of 3 years.

l6                  3.      Other Aspects of Sentencing

t7           The govemment may recommend whatever it deems appropriate as to all other aspects of

l8   sentencing.

l9                  4.      Acceptance of Responsibilitv

20           The government will recommend a two-level reduction (if the offense level is less than 16) or a

2L   three-level reduction (if the offense level reaches l6) in the computation of defendant's offense level   if
22   he clearly demonstrates acceptance of responsibility for his conduct as defined in U.S.S.G. $ 3E1.1.

23   This includes the defendant meeting with and assisting the probation officer in the preparation of the

24   pre-sentence report, being truthful and candid with the probation officer, and not otherwise engaging in

25   conduct that constitutes obstruction ofjustice within the meaning of U.S.S.G $ 3C1.1, either in the

26   preparation of the pre-sentence report or during the sentencing proceeding.

27                   5.     Defendant's TSR Violation

28           The defendant is separately charged in a violation of supervised release in l:21-cr-00050-DAD.


       Plpa AcRBsvrgNt                                                    UNrreo Srares v. WENDELL MOTON
      Case 1:24-cr-00126-DAD-BAM                Document 58          Filed 02/14/25      Page 5 of 10



I    Because of the defendant's plea in this case, the government will recommend a low-end sentence on that

2    violation.

3            B.       Use of Information for Sentencing

4            The govenrment is free to provide fuIl and accurate information to the Court and the United

5    States Probation Office ("Probation"), including answering any inquiries made by the Court and/or

6    Probation, and rebutting any inaccurate statements or arguments by the defendant, his attorney,

7    Probation, or the Court. The defendant also understands and agrees that nothing in this Plea Agreement

 8   bars the government from defending on appeal or collateral review any sentence that the Court may

 9   impose.

10                                  IV.       ELEMENTS OF THE OFFENSE
11           At a trial, the government would have to prove beyond a reasonable doubt the following
t2   elements of the offense(s) to which the defendant is pleading guilty:

l3           As to Count One, Conspiracy to Traffic in Firearms, in violation of l8 U.S.C. $ 933(aX3):

14                    1.      The defendant agreed with another person to traffic in firearms;

15                    2.      The defendant became a member of the conspiracy knowing at least one of his

t6                            objects and intending to help accomplish it;

t7             Trafficking in firearms has the following elements:

18                    1.      The defendant knowingly transported, transferred or disposed of a firearm;

19                    2.      The transportation, transfer, or disposal of the firearm was in or otherwise

20                            affecting interstate cofiImerce; and

2L                    3.      The defendant knew or had reasonable cause to believe the possession of the

22                            firearm by the recipient would constitute a felony

23

24

25             The defendant fully understands the nature and elements of the crimes charged in the Indictment

26    to which he is pleading guilty, together with the possible defenses thereto, and has discussed them with

27    his attorney.

28


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       Case 1:24-cr-00126-DAD-BAM                Document 58         Filed 02/14/25        Page 6 of 10



 1                                       V.       MAXIMUM SENTENCE
2            A.      Maximum Penaltv
3            The maximum sentence that the Court can impose is 15 of incarceration, a fine of $250,000, a

4     three year period of supervised release and a special assessment of $ 100.

5            B.      Violations of Supervised Release

6            The defendant understands that if he violates a condition of supervised release at any time during

 7    the term of supervised release, the Court may revoke the term of supervised release and require the

 8    defendant to serve up to two years of additional imprisonment.

 9                                VI.       SENTENCING DETERMINATION

l0           A.      Statutorv Authoritv

lt           The defendant understands that the Court must consult the Federal Sentencing Guidelines and

t2    must take them into account when determining a final sentence. The defendant understands that the

13    Court will determine a non-binding and advisory guideline sentencing range for this case pursuant to the

t4 Sentencing Guidelines and must take them into account when determining a final sentence. The
l5    defendant funher understands that the Court will consider whether there is a basis for departure from the

l6 guideline sentencing range (either above or below the guideline sentencing range) because there exists
1.7   an agglavating or mitigating circumstance of a kind, or to a degree, not adequately taken into

18    consideration by the Sentencing Commission in formulating the Guidelines. The defendant further

19    understands that the Court, after consultation and consideration of the Sentencing Guidelines, must

20    impose a sentence that is reasonable in light of the factors set forth in l8 U.S.C. $ 3553(a).

2t                                               VII.      WATVERS

22            A.      Waiver of Constitutional Riehts
23            The defendant understands that by pleading guilty he is waiving the following constitutional

24    rights: (a) to plead not guilty and to persist in that plea if already made; (b) to be tried by a jury; (c) to

25    be assisted at trial by an attorney, who would be appointed if necessaly; (d) to pursue any affirmative

26    defenses, Fourth Amendment or Fifth Amendment claims, constitutional challenges to the statutes of

27    conviction, and other pretrial motions that have been filed or could be frled; (e) to subpoena witnesses to

28    testify on his behalf; (0 to confront and cross-examine wifiresses against him; and (g) not to be


        Plpa AcRseugNr                                                        UNrrBp Srarps v. WENDELL MOTON
       Case 1:24-cr-00126-DAD-BAM               Document 58         Filed 02/14/25        Page 7 of 10



 I    compelled to incriminate himself.

2            B.      Waiver of Appeal and Collateral Attack
3            The defendant understands that the law gives the defendant a right to appeal his guilty plea,

4     conviction, and sentence. The defendant agrees as part of his plea/pleas, however, to give up the right to

 5    appeal any aspect of the guilty plea, conviction, or the sentence imposed in this case. The defendant

 6    understands that this waiver includes, but is not limited to, any and all constitutional and/or legal

 7    challenges to the defendant's conviction and guilty plea, including arguments that the statutes to which

 8    defendant is pleading guilty are unconstitutional, and any and all claims that the statement of facts

 9    attached to this agreement is insufficient to support the defendant's plea of guilty. The defendant

10    specifically gives up the right to appeal any order of restitution the Court may impose.

ll            Notwithstanding the defendant's waiver of appeal, the defendant will retain the right to appeal if

1,2   one of the following circumstances occurs: (1) the sentence imposed by the District Court exceeds the

13    statutory maximum; and/or (2) the govemment appeals the sentence in the case. The defendant

t4    understands that these circumstances occur infrequently and that in almost all cases this Agreement

l5    constitutes a complete waiver of all appellate rights.

t6            In addition, regardless of the sentence the defendant receives, the defendant also gives up any

t7    right to bring a collateral attack, including a motion under 28 U.S.C . S 2255 or $ 224t, challenging any

18    aspect of the guilty plea, conviction, or sentence imposed in this case, except for non-waivable claims.

19            Notrvithstanding the agreement in paragraph Error! Reference source not found. (Dismissals)

20    above that the govemment will move to dismiss counts against the defendant, if the defendant ever

2t    attempts to vacate his plea, dismiss the underlying charges, or modiff or set aside his sentence on any of

22    the counts to which he is pleading guilty, the government shall have the rights set forth in paragraph II.C

23     (Defendant's Violation of Plea Agreement) herein.

24            C.      Waiver of Affornevs' Fees and Costs
25            The defendant agrees to waive all rights under the "Hyde Amendment," Section 617, P.L. 105-

26     119 (Nov .26,1g97),to recover attorneys' fees or other litigation expenses in connection with the

27     investigation and prosecution of all charges in the above-captioned matter and of any related allegations

28     (including without limitation any charges to be dismissed pursuant to this plea agreement and any


         Plsa Acnsr,NaeNr                                                    UNrreo Srerps v. WENDELL MOTON
      Case 1:24-cr-00126-DAD-BAM                Document 58          Filed 02/14/25        Page 8 of 10



1    charges previously dismissed).

2           D.      Impact of Plea on Defendant's Immigration Status
3           Defendant recognizes that pleading guilty may have consequences with respect to his

4    immigration status if he is not a citizenof the United States. Under federal law, a broad range of crimes

5    are removable offenses, including offense(s) to which the defendant is pleading guilty. The defendant

6    and his counsel have discussed the fact that the charge to which the defendant is pleading guilty is an

7    aggravated felony, or a crime that is likely to be determined to be an aggravated felony under 8 USC $

 8   l l0l(a)(a3), and that while there may be arguments that defendant can raise in immigration proceedings

 9   to avoid or delay removal, it is virtually certain that defendant will be removed. Removal and other

10   immigration consequences are the subject of a separate proceeding, however, and defendant understands

1l   that no one, including his attorney or the district court, can predict to a certainty the effect of his

t2   conviction on his immigration status. Defendant nevertheless affirms that he wants to plead guilty

t3   regardless of any immigration consequences that his plea may entail, even if the consequence is his

t4 automatic removal from the United States.
l5                                  VIII.      ENTIRE PLEA AGREEMENT
t6           Other than this plea agreement, no agreement, understanding, promise, or condition between the

t7 govemment and the defendant exists, nor will such agreement, understanding, promise, or condition
18   exist unless it is committed to writing and signed by the defendant, counsel for the defendant, and

19   counsel for the United States.

20                                 rX.       APPROVALS AND SIGNATTIRES
2l           A.      Defense Counsel

22           I have read this plea agreement and have discussed it fully with my client. The plea agreement

23   accurately and completely sets forth the entirety of the agreement. I concur in my client's decision to

24   plead guilty as set forth in this plea agreement.

25

26
       Dated:    tfts/*
                                                                Counsel for Defendant
27

28


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      Case 1:24-cr-00126-DAD-BAM                 Document 58        Filed 02/14/25      Page 9 of 10



 I             B.     Defendant
 2             I have read this plea agreement and carefully reviewed every part of it with my attorney. I

 3   understand it, and I voluntarily agree to it. Further, I have consulted with my attorney and fully

 4   understand my rights with respect to the provisions of the Sentencing Guidelines that may apply to my

 5   case. No other promises or inducements have been made to me, other than those contained in this plea

 6   agreement. In addition, no one has threatened or forced me in any way to enter into this plea agreement.




                                                                        *
 7   Finally, I am satisfied with the representation of my attorney in this case.

 8
      Dated:      L- lg-zs                                      N        l/(/:
 9                                                            WENDELL MOTON, Defendant
l0
1l
            C.        Attornev for the United States
            I accept and agree to this plea agreement on behalf of the government.
t2

13    Dated:            February 13,2025                      MICHELE BECKWITH
t4
l5
                                                                                        .HUGHES
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      Case 1:24-cr-00126-DAD-BAM                Document 58         Filed 02/14/25      Page 10 of 10



 1                                                  EXHIBIT A
                                                Factual Basis for Plea
 2

 3
              If this matter proceeded to trial, the United States would establish the following facts beyond a
     reasonable doubt:
 4
             On March 27 ,2024, police officers attempted to stop a vehicle containing Wendell MOTON.
 5   The vehicle failed to yield and MOTON fled on foot with a yellow shoulder bag containing a Beretta
     handgun manufactured outside of California. MOTON ran through a series of back yards, discarding the
 6
     Beretta as he ran.
 7
             On April 21,2024, undercover agents contacted Wendell MOTON to see if he had any firearms
 8   for sale. MOTON then sent the undercover agent a video of Co-Conspirator I holding a Glock 27
     ftrearm, and provided the undercover agent with Co-Conspirator 2's phone number.
 9
           The undercover agent called Co-Conspirator 2 and arranged to purchase the Glock 27 and set a
t0 location for the transaction. Shortly after the call, agents observed Co-Conspirator 2leave his apartment
ll   with a plastic bag and get into a vehicle with Co-Conspirator 1.

t2           Co-Conspirators I and 2 were stopped by police. In the vehicle was the plastic bag Co-
     Conspirator2hadbeen seen carrying, which contained a loaded, fully-automatic Glock 27 firearm. This
13   is the same firearm Co-Conspirator I was seen holding in the video MOTON sent to the undercover
     agent.
t4
            MOTON, Co-Conspirator l, and Co-Conspirator 2 all discussed the sale of the Glock 27 and
l5   agreed to sell it to the undercover agent; therefore the conspiracy's goal was to transfer and dispose of a
t6   firearm to another person.

t7          The Defendant knew that it would be a felony for a recipient to possess a machinegun like the
     Glock 27.The Glock 27 was not manufactured in California and thus traveled in interstate commerce.
t8
              I, WENDELL MOTON, have read the Factual Basis for Plea and agree to the facts and
t9   stipulations contained therein.
20

2T    Dated: L'-         l3- L5                                         --MOTON,
                                                                             /VL L--+--
22

23

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